Case 2:04-Cr-20471-BBD Document 73 Filed 06/01/05 Page 1 of 2 Page|D 76

FILED ar \L, 'Mm D.C.
J:N THE UNITED sTATJ-:s DIsTRIc'r com-1-

FoR THE wEsTERN DISTRICT oF TENNESSEE ,
wEs'rERN nIvIsION 05 JUH 'l PH 5~ 17

mower F:. se Tsouo
_.:.~Esm, us QI§T. cT.
W.s. ns m ams=ms

UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 04-20471-D

~__¢`_,~._,~__¢~._,-_,`_,

MARIA BURKS )
Defendant. )

 

0RDER on cHANGE oF PLEA
AND SETTING

 

This cause came to be heard on May 31, 2005, the United States
Attorney for this district, Timothy R. DiScenza, appearing for the
Government and the defendant, Maria Burks, appearing in person and with
counsel, April R. Goode, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count(s) l of the
Indictment,

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for MONDAY, AUGUST 22, 2005, at
1:00 P.M., in Courtroom No. 3, on the 9th floor before Jddge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the 135 day cf May, 2005.

 

UNITED STATES DISTRICT JUDGE

Th!s dochent entered on the docket sheet !n compliance
with H.ne 55 and/or 3211:¢) FRCrP on ' '

UNITED sATE DISTRICT COURT - WE"TRN DISTRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 73 in
case 2:04-CR-20471 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Robert Irby
4345 E. Mallory
1\/1emphis7 TN 38111

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 .1 efferson Ave.

Ste. 200

1\/1emphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

LaWrence W. Kern
KERN LAW FIRM

51 18 Park Avenue

Ste. 600

1\/lemphis7 TN 38117--571

Howard Brett Manis
BOROD & KRAMER
80 Monroe Ave.

Ste. G-1

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

